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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH
                                   CENTRAL DIVISION

JANICE MAUGHAN,

         Plaintiff,                                            CASE NO. 2:11-cv-00730

v.

OMNI CREDIT SERVICES OF
FLORIDA, INC.,

      Defendant.
_____________________________________/

                                   NOTICE OF SETTLEMENT

         NOW COMES the Plaintiff, JANICE MAUGHAN, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 30 days.

         Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                RESPECTFULLY SUBMITTED,

     DATED: September 8, 2011
                                        By: /s/ Steven D. Crawley
                                              Steven D. Crawley, Esquire
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2011 I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Greg Straub, Counsel for Defendant, by electronic mail at the address

below;

         Greg Straub

         GStraub@omnicredit.net

                                                              By:/s/ Steven D. Crawley
                                                                 Steven D. Crawley, Esquire
                                                                Attorney for Plaintiff
